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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                Schedule for Order of Restitution

                 v.                                                      19 Cr. 607 (AJN)

 Alejandro Paulino,

                            Defendant.




             Name                                Address                    Amount
   Bank of America                 Bank of America Recovery Services        $142,634
                                   MO1-800-06-15
                                   800 Market ST
                                   Saint Louis, MO 63101
                                   FRD-2018080245645




09.10.2013
